MISCELLANEOUS SUPREME COURT DISPOSITIONS
BALLOT TITLES CERTIFIED

March 7, 2006

Littleton-Stoltz v. Myers (S53135). Petitioner's request for oral argument is denied. Petitioner's
arguments that the Attorney General's certified ballot title for Initiative Petition No. 114 (2006)
does not comply substantially with ORS 250.035(2) to (7) are not well taken. The court certifies
to the Secretary of State the Attorney General's certified ballot title for the proposed measure.

Littleton-Stoltz v. Myers (S53136). Petitioner's request for oral argument is denied. Petitioner's
arguments that the Attorney General's certified ballot title for Initiative Petition No. 115 (2006)
does not comply substantially with ORS 250.035(2) to (7) are not well taken. The court certifies
to the Secretary of State the Attorney General's certified ballot title for the proposed measure.

Littleton-Stoltz v. Myers (S53137). Petitioner's request for oral argument is denied. Petitioner's
arguments that the Attorney General's certified ballot title for Initiative Petition No. 116 (2006)
does not comply substantially with ORS 250.035(2) to (7) are not well taken. The court certifies
to the Secretary of State the Attorney General's certified ballot title for the proposed measure.

Mathews v. Myers (S52995). Petitioner's request for oral argument is denied. Petitioner's
arguments that the Attorney General's certified ballot title for Initiative Petition No. 82 (2006)
does not comply substantially with ORS 250.035(2) to (7) are not well taken. The court certifies
to the Secretary of State the  Attorney General's certified ballot title for the proposed measure.

Mathews v. Myers (S52997). Petitioner's request for oral argument is denied. Petitioner's
arguments that the Attorney General's certified ballot title for Initiative Petition No. 84 (2006)
does not comply substantially with ORS 250.035(2) to (7) are not well taken. The court certifies
to the Secretary of State the Attorney General's certified ballot title for the proposed measure.

Mathews v. Myers (S52998). Petitioner's request for oral argument is denied. Petitioner's
arguments that the Attorney General's certified ballot title for Initiative Petition No. 85 (2006)
does not comply substantially with ORS 250.035(2) to (7) are not well taken. The court certifies
to the Secretary of State the Attorney General's certified ballot title for the proposed measure.

Mathews v. Myers (S53104). Petitioner's request for oral argument is denied. Petitioner's
arguments that the Attorney General's certified ballot title for Initiative Petition No. 102 (2006)
does not comply substantially with ORS 250.035(2) to (7) are not well taken. The court certifies
to the Secretary of State the Attorney General's certified ballot title for the proposed measure.

